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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF ALABAMA
                               SOUTHERN DIVISION


TARA E. LYONS,                                  *
                                                *
       Plaintiff,                               *
                                                *
vs.                                             * CIVIL ACTION NO. 05-00689-CB-B
                                                *
MICHAEL J. ASTRUE,                              *
Commissioner of Social Security,                *
                                                *
       Defendant.                               *


                                            ORDER

       After due and proper consideration of all portions of this file deemed relevant to the issues

raised, and there having been no objections filed, the Report and Recommendation of the Magistrate

Judge made under 28 U.S.C. § 636(b)(1)(B) and dated February 22, 2007, is ADOPTED as the

opinion of this Court.

       DONE and ORDERED this the 15th day of February , 2007.




                                                     s/Charles R. Butler, Jr.
                                                     Senior United States District Judge
